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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA

                                            CASE NO.: 6:24-cv-00649

BURTON CUMMINGS, an
individual d/b/a SHILLELAGH
MUSIC COMPANY,

               Plaintiff,
       v.

MICHAEL ELKO, an individual
d/b/a ELKO CONCERTS; and CITY
OF DAYTONA BEACH, a municipality,

                  Defendants.
____________________________________/

                      COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff, Burton Cummings d/b/a Shillelagh Music Company (“Cummings”), files this

complaint for copyright infringement against defendants, Michael Elko d/b/a Elko Concerts

(“Elko”) and the City of Daytona Beach (together, “Defendants”).

                                        INTRODUCTION

       1.      Cummings is a legendary musician, songwriter and performer. He is best known as

the lead singer of Canadian rock band The Guess Who from 1965 to 1975, where his signature

voice propelled the band to the top of the charts.1

       2.      The Guess Who was one of the most successful and well-known rock bands from

the 1960s and 1970s, and the first Canadian rock band to achieve international acclaim.

       3.      As The Guess Who’s lead singer, Cummings wrote and/or performed the band’s



1
 Rolling Stone magazine hailed The Guess Who as “one of rock’s most consistently fascinating
maverick bands,” with a succession of hit songs that has few equals among contemporary North
American groups. Ken Barnes, ROLLING STONE, Review: The Guess Who - Road Food, June 20,
1974.
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biggest hits, including the rock anthem “American Woman.” In 1980, Cummings, through

Shillelagh Music Company, acquired all rights to the musical compositions for a number of The

Guess Who’s greatest hits, including: “American Woman,” “No Sugar Tonight,” “No Time” and

“These Eyes” (collectively, the “Musical Compositions”).

       4.      Michael Elko is the owner of Elko Concerts, the self-described “biggest independent

concert promoter” in Melbourne, Florida. Elko promotes a mixture of comedic and music events,

with a focus on booking cover bands and tribute acts. Get the Led Out (a Led Zeppelin tribute

band), Brit Floyd (a Pink Floyd cover band) and Hotel California: A Salute to the Eagles (an Eagles

imitation group) are among the bands that Elko is currently promoting at Florida venues.

       5.      In promoting the performance of a Guess Who cover band at the Peabody

Auditorium in Daytona Beach, Defendants synchronized, reproduced, and publicly broadcast

Cummings’ copyrighted Musical Compositions in an audiovisual work without obtaining a

synchronization license.2

       6.      Defendants’ use of Cummings’ Musical Compositions without synchronization

licenses constitute copyright infringement.

                                JURISDICTION AND VENUE

       7.      This is a civil action seeking damages and injunctive relief for copyright

infringement under the Copyright Act, 17 U.S.C. § 101 et seq.

       8.      The Court has jurisdiction over this action pursuant to 17 U.S.C. §§ 101 et seq., 28



2
  “In order to use a musical composition as part of an audiovisual work (i.e., the ‘synchronization’
of musical compositions with the content of audiovisual works), a person must obtain a
‘synchronization license’ from the copyright holders of the musical composition.” Leadsinger,
Inc. v. BMG Music Pub., 512 F.3d 522, 527 (9th Cir. 2008). See also ABKCO Music, Inc. v. Stellar
Records, Inc., 96 F.3d 60, 63, n. 4 (2d Cir. 1996) (“A synchronization license is required if a
copyrighted musical composition is to be used in ‘time-relation’ or synchronization with an
audiovisual work.”).


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U.S.C. §§ 1331 and 1338.

        9.      The Court has personal jurisdiction over Elko because, among other things, he: (a)

has engaged in substantial, continuous, and systematic contacts with Florida by hosting numerous

concert events at the King Center, Melbourne Auditorium and Wynfields in Melbourne, Florida

and the Peabody Auditorium and Oceanfront Bandshell in Daytona Beach, Florida (collectively,

the “Florida Venues”); (b) derived financial benefits from the residents of Florida through the sales

of tickets to live events; (c) purposefully directed his unlawful activities at Florida residents by,

among other things, unlawfully performing Cummings’ copyrighted compositions, without

synchronization licenses, to Florida residents; and (d) a substantial part of his wrongful acts were

committed in the State of Florida.

        10.     The Court has personal jurisdiction over the City of Daytona Beach because: (a) it

is located in the State of Florida; and (b) a substantial part of the wrongful acts committed by the

City of Daytona Beach occurred in the State of Florida, including distributing and publicly

performing Cummings’ copyrighted musical works, without synchronization licenses, to Florida

residents.

        11.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and 1400(a)

because Defendants “reside” in this District and a substantial part of the events giving rise to

Plaintiff’s claims occurred in this District.

                                           THE PARTIES

        12.     Cummings is a Canadian-born musician, now residing in Los Angeles County,

California. Lauded as “one of the finest voices” in rock music, Cummings’ legendary career has

culminated in inductions into the Canadian Music Industry Hall of Fame and the Canadian

Songwriters Hall of Fame. Cummings remains on the top of his game, performing to audiences in




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both the United States and Canada.

          13.    Elko resides in both Allegheny County, Pennsylvania and Indian Harbour Beach,

Florida. Elko does business as Elko Concerts in Pittsburgh, Pennsylvania and Melbourne, Florida.

Elko has offices located at 931 North Colonial Court, Indian Harbour Beach, Florida 32937, and

purports to have relationships with the Florida Venues.3

          14.    The City of Daytona Beach is a municipality located in Volusia County, Florida.

The City of Daytona Beach owns and operates the Peabody Auditorium, a 2,521-seat venue that is

home to the Daytona Beach Symphony Society and has hosted events featuring Elvis Presley, Tony

Bennett, James Taylor, Liza Minnelli, Frank Sinatra, Jerry Seinfeld and David Copperfield.

                                   FACTUAL BACKGROUND

A.        The Trademark Voice of The Guess Who, Cummings Authored the Band’s Biggest
          Hits and Acquired Full Ownership of the Musical Compositions.

          15.    Cummings was the lead singer of The Guess Who from 1965 to 1975, before

embarking on a successful solo career.

          16.    During his time with The Guess Who, Cummings wrote or co-wrote the band’s

chart-topping hits, including the Musical Compositions.

          17.    With its unmistakable guitar riff and powerful vocals, “American Woman” became

The Guess Who’s signature hit. Initially released in 1970, “American Woman” skyrocketed to

number one on the Billboard Hot 100 chart, besting the Jackson 5 and the Beatles. “American

Woman” also topped the Canadian charts and became a global phenomenon.4

          18.    “American Woman” has been featured in a number of prominent movies and



3
    See https://elkoconcerts.com/venues/ (listing the Florida Venues on its home page).
4
    The song was shrouded in controversy, as some interpreted it as a Vietnam-era anti-war song.


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television shows, including American Beauty and The Cable Guy. It was also covered by Lenny

Kravitz in May of 1999 for the soundtrack of Austin Powers: The Spy Who Shagged Me, and

returned to the top 50 charts in the United States and Canada, among other countries.

       19.       The other Musical Compositions have been similarly successful. Released as the

“B-side” of “American Woman,” “No Sugar Tonight” reached number one on the Billboard Hot

100 chart.

       20.       Co-written by Randy Bachman, the lead guitarist of the original The Guess Who,

“These Eyes” was released in the United States in March of 1969. A departure from the band’s

hard rock roots, the gentle ballad reached number six on the Billboard chart, becoming the band’s

first single to reach the top ten. “These Eyes” was certified gold and has been covered by numerous

artists including Michael Bolton and Natalie Cole. The song was also featured in the 2007 comedy

film Superbad.

       21.       “No Time” peaked at number five on the Billboard chart and reached number one

in Canada.

       22.       The Musical Compositions remain popular today, ranking among the most

recognizable classic rock songs and earning tens of millions of streams.

       23.       The musical composition copyrights for “American Woman,” “These Eyes,” and

“No Time” were registered with the United States Copyright Office under Form E Foreign

Registration Nos. EFO-140219, EFO-138549 and EFO-138264, respectively.                  Attached as

composite Exhibit 1 are the Form E Registrations.

       24.       “No Sugar Tonight” was registered with the United States Copyright Office under

Form E Foreign Registration No. EFO-140554 and later through Form PA (PA 693-540). Attached

as composite Exhibit 2 are the copyright registrations for “No Sugar Tonight.”




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         25.    In 1980, Cummings — through Shillelagh Music — acquired all rights to the

musical compositions. Attached as Exhibit 3 is the December 10, 1980 Assignment of Copyrights

between Nimbus 9 Productions Limited and Shillelagh Music. The Assignment is recorded with

the United States Copyright Office at Volume 1824, Pages 218–225.

B.       Defendants Promoted the Cover Band’s Concert Performance Using Cummings’
         Copyrighted Musical Compositions Without Permission.

         26.    Long after the band broke up in 1975, one or more of Cummings’ former bandmates

assembled a group of hired musicians (“Cover Band”). The Cover Band performs live shows,

record albums, and misleadingly advertises and promotes such concerts and recordings as “The

Guess Who,” even though most or all of the musicians were not part of the original band lineup.

         27.    The Cover Band’s deceptive and misleading acts are currently the subject of

litigation brought by Cummings and Bachman in the United States District Court for the Central

District of California.5

         28.    The Cover Band performed at the Peabody Auditorium in Daytona Beach, Florida

on March 30, 2023 (“Cover Band Concert”).6

         29.    Elko promoted the Cover Band Concert, selling tickets through the Elko Concerts

website.

         30.    In promoting the Cover Band Concert, Defendants published a promotional video

(“Promotional Video”).7



5
 See Burton Cummings and Randolph Bachman v. Michael James Kale et al., Case No. 2:23-cv-
9130 (C.D. Cal.)
6
  The Cover Band is also currently scheduled to play another concert at Peabody Auditorium on
April 18, 2024, as well as separate events on April 10, 2024 (Sunrise Theatre) and April 11, 2024
(Florida Theatre). See https://elkoconcerts.com/events/.
7
    See https://www.facebook.com/peabodyauditorium/videos/764015725220251.


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        31.     The Promotional Video consists of a voiceover touting the Cover Band Concert,

while recordings of various musical compositions owned by Cummings – including “No Sugar

Tonight,” “These Eyes,” “No Time,” and, most prominently, “American Woman” – are performed.

        32.     The Promotional Video has been published and displayed on a number of platforms,

including the Peabody Auditorium’s Facebook Page.

        33.     By synchronizing and reproducing Cummings’ copyrighted Musical Compositions

with their Promotional Video without securing a synchronization license from Shillelagh Music,

Defendants have infringed Cummings’ copyrights and deprived him of the goodwill and royalties

to which he is entitled.

                                          COUNT I
                                COPYRIGHT INFRINGEMENT
                                   (Against All Defendants)

        34.     Plaintiff incorporates by reference the allegations contained in paragraphs 1 through

33 of this Complaint.

        35.     Defendants have infringed Cummings’ copyrights in the Musical Compositions by

synchronizing, reproducing, distributing, and publicly performing the compositions as part of the

Promotional Video without securing a synchronization license in violation of the Copyright Act, 17

U.S.C. §§ 106 and 501.

        36.     Alternatively, Defendants have vicariously or contributorily infringed Cummings’

copyrights by having reason to know that infringement was taking place; inducing, encouraging or

assisting the infringing conduct of others; and/or declining to exercise the right and ability to

supervise or control the infringing activity of others, in which Defendants have a direct financial

interest.




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           37.    Defendants’ acts of infringement are willful, in disregard of and with indifference

to the rights of Cummings.

           38.    As a direct and proximate result of the Defendants’ infringement, Cummings is

entitled to damages and to Defendants’ profits in amounts to be proven at trial, which are not

currently ascertainable. Alternatively, Cummings is entitled to maximum statutory damages for

infringement, or in such other amount as may be proper under 17 U.S.C. § 504(c).

           39.    Cummings is further entitled to his attorneys’ fees and full costs pursuant to 17

U.S.C. § 505.

           40.    As a result of Defendants’ conduct, Cummings has sustained and will continue to

sustain substantial, immediate, and irreparable injury, for which there is no adequate remedy at law.

Cummings is informed and believes, and on that basis avers, that unless enjoined and restrained by

this Court, Defendants will continue to infringe his musical composition copyrights. Cummings is

entitled to temporary, preliminary, and permanent injunctive relief to restrain and enjoin

Defendants’ continuing infringing conduct.

                                         PRAYER FOR RELIEF

           WHEREFORE, Cummings respectfully requests that the Court enter a judgment against

Elko and the City of Daytona Beach:

       a.         For a preliminary and permanent injunction enjoining Defendants from infringing

any copyrighted works (or portions thereof) in which Cummings owns or controls an exclusive right

under Section 106 of the United States Copyright Act or state law, including without limitation by

directly    or   indirectly   copying,   synchronizing,     reproducing,   downloading,   distributing,

communicating to the public, uploading, linking to, transmitting, publicly performing, or otherwise

exploiting any of Cumming’s copyrighted works, including but not limited to the Musical




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Compositions;

          b.      For Defendants’ profits and damages in such amount as may be determined;

alternatively, for maximum statutory damages in the amount of $150,000 with respect to each

copyrighted work infringed, or for such other amount as may be proper pursuant to 17 U.S.C. §

504(c);

          c.      For Cummings’ reasonable attorneys’ fees and costs;

          d.      For prejudgment interest according to law; and

          e.      For such other and further relief as the Court may deem just and proper.

                                      JURY TRIAL DEMAND

           Cummings respectfully demands a trial by jury on all claims and issues so triable pursuant

to Federal Rule of Civil Procedure 38.


Dated: April 4, 2024                                        Respectfully submitted,

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